     Case 1:02-cr-00022-PB   Document 275   Filed 07/23/09   Page 1 of 2




                    UNITED STATES DISTRICT COURT
                      DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                                Criminal No. 02-cr-22-04-JD


Nathaniel Ceasar

                               O R D E R

     On July 23, 2009, defendant appeared for a “probable cause”

hearing under Fed. R. Crim. P. 32.1 on two alleged violations of

conditions of supervision.      The government discussed one but the

Probation Officer and a certified copy of his guilty plea on

count two establish probable cause to hold him for a revocation

hearing.

     Defendant sought bail conditions under Rule 32.1(a)(6).

Under Rule 32.1(a)(6) defendant bears the burden of establishing

by clear and convincing evidence that he will not flee and that

he poses no danger to any other person or to the community. This

defendant has a history of domestic violence and, despite anger

management, has engaged in it again.        He is a danger to the

community.   There are no conditions which are likely to assure

his presence and the safety of the community.

     Accordingly, it is ORDERED that the defendant be detained

pending trial.
      Case 1:02-cr-00022-PB   Document 275   Filed 07/23/09   Page 2 of 2




      The defendant is committed to the custody of the Attorney

General or her designated representative for confinement in a

corrections facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody

pending appeal.     The defendant shall be afforded a reasonable

opportunity for private consultation with defense counsel.                  On

order of a court of the United States or on request of an

attorney for the government, the person in charge of the

corrections facility shall deliver the defendant to the United

States Marshal for the purpose of an appearance in connection

with a court proceeding.

      SO ORDERED.

                                   _________________________________
                                   James R. Muirhead
                                   United States Magistrate Judge

Date: July 23, 2009

cc:    R. Brian Snow, Esq.
       Terry L. Ollila
       U.S. Marshal
       U.S. Probation




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